Case 2

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Including Professional Corporations

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

TRAFFICSCHOOL.COM, INC., a
California corporation; DRIVERS ED
DIRECT, LLC., a California limited
liability company,

Plaintiffs,
V.

EDRIVER, INC., ONLINE GURU,
INC., FIND MY SPECIALIST, INC.,
and SERIOUSNET, INC., California
corporations; RAVI K. LAHOTI, an
individual; DOES 1 through 10.

Defendants.

4833-3194-9570.1-

Case No. CV067561 PA (CWx)
The Hon. Percy Anderson

Ee MARKED COPY OF]
EFENDANTS' POST TRIAL
[PROPOSED] FINDINGS OF FACT
ND CONCLUSIONS OF LAW

Trial Date: November 6, 2007

Time: 8:30 a.m.

Crtrm: 15

[Complaint Filed November 28, 2006]

[Per Court’s Jan. 16, 2008 Order
requesting further su, apport and

citations for cispured items:

YELLOW HIGHLIGHT= Irrelevant]

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[PLAINTIFFS MARKED COPY OF] DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

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Defendants’ hereby submit the following post-trial findings of fact and
conclusions of law:

FINDINGS OF FACT

Background Facts Regarding The Defendants

1. Raj and Ravi Lahoti own, in equal shares, an entity call Biz
SpecialistyInc) [Ravi Lahoti Trial Decl., { 2.]

2. The DMV.ORG domain is owned by defendant EDriver, Inc. and
licensed to Online Guru for exclusive management of the website. The DMV.ORG
website was launched in 1999 and presently contains approximately 4,000 distinct
webpages with information pertaining to vehicle- and driver-related needs. [Raj

Lahoti Trial Decl., {J 2-3; 11/6 RDT 20:19-24, 21:6-8 (Raj).] [This is false to the

extent it is meant to convey that the DMV.ORG site as it exists currently — or even in

previous years — was launched in 1999; rather, a rudimentary and unprofitable site
existed at the DMV.ORG domain address from 1999-2003 (TE 623 -archive of 2002
version showing immediate prompt for users to connect to their official state’s

DMV; TE 624 -archive of 2003 version showing same; Moretti Depo. pp. 56:4-14);
and Raj Lahoti stated that the 2006 revision constituted a “brand-new Website” or

“brand-new almost Website” (11/6 TT Raj Lahoti, p. 76:4 -77:24). It is also false to

the extent it suggests the site is purely informational, it is a profit-driven site which

promotes and markets vehicle related services (Moretti Depo. pp. 41:19-46:6).]

3. Ravi Lahoti turned over the management of DMV.ORG to Raj

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

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felatively limited. [Ravi Lahoti Trial Decl., {5.] [Disputed because Ravi Lahoti has
had more than “limited” involvement at all times: he is Vice President of the
company which manages DMV.ORG, namely, Online Guru, Inc. (TE 33, TT 11/6 ,
pp. 19:22-20:18); an owner of Biz Groups, Inc., which in turn owns Defendants
Find My Specialist, Inc. and Edriver, and the sole owner of Defendant SeriousNet,
Inc. (TE 333; Depo. Ravi Lahoti pp. 14:4-24; TT 11/6, p. 20:2-5; 21:2-5). Besides

ownership interests, he directly participated in the operations of DMV.ORG as he

initially registered the domain name and has made the decision to continue to use

DMV.ORG (Depo. Steve Moretti, p. 17:12-15; 129:1-17); moreover, he has been

involved with DMV.ORG since 2003 because as the principal actor of Seriousnet,

Inc., he owned various other domain names and websites which at the time of this

lawsuit directed consumers to or from DMV.ORG (Depo. Steve Moretti, pp.126:25
to 127:7; 134:12-23; TT 11/6, p. 21:9-20; Depo. Ravi Lahoti, p. 57:6-9; 95:19 to
96:6, Ex. 171]

| [Ravi Lahoti Trial Decl., J 3.]

5. The DMV.ORG website does not implicate any serious threat to
public health and safety, [This is false. Many people have communicated highly

sensitive personal information and even information related to criminal
investigations to DMV.ORG believing it to be the official DMV; and DMV.ORG
often publishes incorrect information (TE 4 — e.g., DEF-00344 — “This poses a

significant public safety issue since taxpayers could be led to believe they are
getting accurate information from a government source which could be especially
harmful in the event of an emergency”; DEF-00277— “Your Description of the
Requirements for Medical Certificates is incorrect....”; DEF-00292 — “Tama

detective for Greenacres Public Safety De. in Palm Beach County Florida. I am

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Case 2

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working an identify theft...” ; DEF-00310—providing license and social security
numbers; DEF-00347—from Trooper Sean: “I am currently involved in a DUI
case...it is an Oregon ID in the name of [REDACTED]...The DUI arrest occurred
on...”.. etc., also see TE 102, 116, 334, 408 (more emails); Depo. Moretti, pp.
193:17 - 199:19; 11/7 TT, 208:20-25). Also, Defendants’ own Director of Customer
Service expressed concern to Mr. Moretti about the level of confusion and suggested
that the public be required to first “acknowledge” that they were not contacting the
government to prevent transmittal of sensitive information; this suggestion was not
implemented and there has been no reduction in the public emails since changes
were made to the website after this litigation (Depo. Flack, pp. 54:9-55:14; 58:8-
60:20; 61:9-63:11; TE 388 and 395 —emails received to DMV.ORG after all post

lawsuit “disclaimers” were made still show confusion). ]

Background Facts Regarding Plaintiffs' Businesses

6. TrafficSchool.com owns the TrafficSchool.com website, from
which it sells online traffic school courses in California, Texas and Florida.

[11/6 Reporter's Daily Transcript ("RDT") 138:24-139:6; 163:9-165:24, 167:1-
168:12, 170:18-171:10 (Creditor); Designated Creditor Depo., 66:3-7, 71:4-11,
72:10-18.][To the extent the statement is meant to be inclusive of all states that
Trafficschool.com sells such courses, the statement is false as courses in many other

states are sold as well (TD Eric Creditor 7 11).]

DriversEdDirect, [11/6 RDT 150:11-151:7 (Creditor).]

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2

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8. Plaintiff DriversEdDirect provides driver's education courses for
lew Grivers and behind-the=wheeltaiming! [11/6 RDT 139:7-12 (Creditor). |

9. TrafficSchool.com served approximately 58,000 customers in

California in 2005 and 57,000 in 2006. fi/@Omparisom to populalion stauisuiceln

[11/7 RDT 11:15-12:2, 13:6-17:4 (Creditor); Designated Creditor Depo., 94:10-23;
Defendants' Second Request for Judicial Notice, Item 1.] [This is false as there was
no evidence presented during trial as to what the market for traffic school is in
Florida or Texas; all Defendants did was attempt to introduce information about
population, not how population converts to traffic school markets in Florida and
Texas, and the witness did not know the market share in Florida or Texas compared
to California (11/7 TT, p. 16:2-3 and Ins.13-22; see also, Plaintiffs’ Objections to
Request for Judicial Notice). |

Standing: Plaintiffs And Defendants Do Not Compete

10. Plaintiffs allege competition with DMV.ORG on three bases:
(a) DMV.ORG acts as a referral source in California and other states for third party
traffic schools and drivers education and Plaintiffs offer traffic school and drivers
education services through their websites; (b) "both Plaintiffs and Defendants act as
a referral source for third party traffic schools and drivers education in various

states"; and (c) "both Plaintiffs and Defendants advertise other third party services
and receive financial consideration from those third parties." The latter two bases

are the only viable bases upon which the parties may be deemed to compete, as the
Court rejected the first basis on Defendants’ motion to dismiss. [TAC, J 20(a)-(c);

1-24-2007 Order.] [This finding violates Tpeal Rule 52-3 (“Proposed findings

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... Shall...not make reference to allegations...” ). Moreover, Defendants’ conclusion

is false as the Court’s 1-24-2007 order concerned allegations in the complaint, and
has no bearing to the trial evidence presented about the services of the parties (see,
Plaintiffs’ Post-Trial Findings and Post-Trial Brief for analysis as to how Plaintiffs

have established a competitive injury based on the trial evidence). |

11. DMYV.ORG's core business is to act as an internet publishing
company, with 99 percent of its revenues derived from advertising. [11/7 RDT

169:15-25 (Raj).] [Mr. Lahoti’s characterization of Defendants’ business as a
“publishing company” is false — DMV.ORG does not act as a mere passive
“advertiser” functioning like a newspaper classified section or Google advertising;
they receive no revenue for mere listings or even click throughs of the driving or

traffic school courses promoted on their site, but only make money once the course

is sold through the site; they themselves refer to this advertising revenue as “sales
commissions” or “marketing fees” (TE 15 — e.g., DEF-01957, DEF-00239, DEF-
00244 — “sales commission”); TE 356, TT 11/7, pp. 188:2-190:21; Depo. Steve

Moretti, pp. 41:19- 46:6). In this regard, defendants are more like joint venturers
or “partners” with their providers profiting only when a sale is made (Depo.
Moretti, p. 75:15-76:14; 78:1-25) —this is not the business model of a publisher
and Defendants’ self-serving characterization (i.e., designed to negate Plaintiffs’
competitive injury) does nothing to controvert the actual evidence; moreover,

Defendants own and manage other domains and websites for the purpose of

generating revenue from the sale of drivers education and traffic school courses
through DMV.ORG (Depo. Steve Moretti, p. 134:12-23; Plaintiffs’ Post Trial
Findings 24 and 25 (and cited evidence). |

12. DMV.ORG does not earn any revenue until a visitor to its
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FINDINGS OF FACT AND CONCLUSIONS OF LAW

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website and takes some action on that third party site. [11/7 RDT 190:3-6

(Moretti).] [This statement is true with regard to DMV.ORG’s partners who own
and operate separate web sites; but false when describing a transaction in
California or Florida where a visitor to DMV.ORG clicks on the advertisement and
goes to the TeenDriversEducation.com site or the FloridaDrivingCourse.com Site,
as those domains are not owned by a “third party advertiser” but by Defendants
themselves (Depo. Moretti, pp. 139:19-24 to 140:20; 316;2-10). Indeed, besides
owning the domain, Defendants manage the website at TeenDriversEducation.com,
even though the fulfillment of services are provided by a third party (TE 15—DEF-
00244 (contract showing that the TeenDriversEducation.com site is “managed by”
Defendant Online Guru, Inc.); TE 413 (print-out of TeenDriversEducation.com site,

attached to Post-Trial Exhibit Stipulation). ]

13. A visitor on DMV.ORG must click through to an advertiser's

website. [11/6 RDT 25:5-24 (Raj).] [The first clause of the statement is false for the
same reasons Set forth in number 12 above (i.e., in some cases, it is not to “an
advertiser’s website” but to Defendants’ websites). The second clause of the

statement is false because the site clearly does offer for sale to purchasers (which is

the definition of “for sale”) traffic school courses and drivers education courses,

even if the user must then must click on the advertisement and even it the fulfillment
of courses are completed by outside companies (e.g., TE 301—showing courses
offered on DMV.ORG pages for Nevada, New Mexico, Colorado, Idaho, Virginia);
e.g., TE 303—showing courses offered on DMV.ORG site for Texas and Colorado);
TE 14 (list of partners’ courses being offered on DMV.ORG site).]

14. Find My Specialist owns the Teen Drivers Education domain for
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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2

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Of and manages the website, [11/6 RDT 104:25-106:9, 119:1-6, 122:17-124:11,

124:20-125:14, 126:14-23 (Raj).] [The first clause of the statement is partially true,
(i.e., that the domain name is owned by Defendant Find My Specialist); however,
tracking sales is only one benefit of Defendants’ ownership of the domain name—
retention of the goodwill of the name by returning customers or referrals is another
(TT 11/6, p. 122:10-16). Also, Defendant Online Guru, Inc. does in fact manage the
TeenDriversEducation.com site (Mr. Lahoti’s testimony to the contrary is rebutted
by the pre-litigation operating agreement between Online Guru, Inc. and Golden
State Private School (the course fulfiller)(TE 15, DEF-00244 which states that the

site is to be “managed by” Online Guru, Inc.).|

15. _ TrafficSchool.com's core business is providing online traffic

School services) [11/7 RDT 103:2-5 (Kramer).] [This statement is true but should be
understood to embrace the concept of marketing and selling its own courses as well

as courses fulfilled and administered by others (like DMV.ORG does). In other

words, “providing” simply means making the courses available through the
TrafficSchool.com website — whether they are fulfilled by TrafficSchool.com or one
of its affiliate providers (TD Eric Creditor [3; 11-13 (except to extent describing
DMV.ORG operations per sustained objections); Depo. Steve Moretti, pp. 75:15 to
76:14; 78:1-25; 79:13 to 80:24; 81:3-14; 95:18 to 97:8; 104:21 to 106:24
(admission by Online Guru that they are in competition with Plaintiffs); 252:14-24
(TE 14 list of “different partners used and in what state they are currently being
advertised on the DMV.ORG website.”); Depo. Steve Moretti, pp. 256:7 to 258:20;
260:1 to 263:25 (TE 15 agreements with referral companies). |

16. DriversEdDirect's core business is providing online driver's

Eallication Couises and behind ihe WHEEL raining! [11/7 RDT 103:4-13 (Kramer).
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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2

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[Same response and evidence cited as No. 15 above, but see TD Eric Creditor {{14-
15 for citation to evidence regarding Plaintiffs’ driver education business rather

than its traffic school business.]

17. "Above 85, 90 percent" of TrafficSchool.com's revenue is
derived from the core business of providing online traffic school services and an
even higher portion of DriversEdDirect's revenue is derived from its core business
of providing online drivers education and behind the wheel training. [11/7 RDT

103:14-22 (Kramer).] [Same response and evidence cited as Nos. 15 and 16 above.]

18.  IDriveSafely and Golden State Private School are Plaintiffs!
provide the same courses that [Plaintiffs] provide to the same consumers." [11/6

RDT 143:15-144:10 (Creditor).] [The statement’s meaning is uncertain because of
the use of the word “actual”; the entities mentioned are indeed Plaintiffs’
competitors, but are not their only competitors; and Mr. Creditor’s testimony was
not meant to suggest such. Moreover, while Defendants are in fact competitors of
Plaintiffs (see Plaintiffs’ Post-Trial Findings Nos. 22-32 and evidence therein), the
inquiry for standing is not whether the parties are “competitors” per se, but rather

whether there is competitive injury (see extensive discussion in Plaintiffs’ Post-Trial

Brief).]

19. _ TrafficSchool.com provides traffic school courses in California
and!does not earn/any referral fees 'in|Californial [11/6 RDT 138:24-139:6, 162:6-

12 (Creditor); Designated Creditor Depo., 66:3-7.]

20. TraffieSchool.com earned no referral fees in Texas for traffic
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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

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Bourses, [Designated Creditor Depo., 71:4-11; 11/6 RDT 163:9-165:24 (Creditor).]
[This statement is misleading as TrafficSchool.com did earn referral revenue (i.e.,
revenue generated from courses sold through the TrafficSchool.com website but
then fulfilled by third party providers, whether accounted for as “referral fees” paid
to TrafficSchool.com from the provider after the provider had collected the student
tuition, or accounted for as revenue obtained from students first by
TrafficSchool.com and then split with its referral providers) from the sale of traffic
school courses in Texas in 2005 through June of 2007. In fact, TrafficSchool.com
does not fulfill courses in Texas and Florida and thus the entirety of its income in
Texas and Florida has been referral revenue (TD Eric Creditor, (11, 14; TE 365 —
i.é., PLOI685); see also Plaintiffs’ Objections to Defendants’ Depo. Designations).

Moreover, accounting of this type of revenue as “referral fees” or otherwise has no

bearing on whether Plaintiffs have suffered a competitive injury. |

21. TrafficSchool.com earned no referral fees in Florida for traffic
[Designated Creditor Depo., 72:10-18; 11/6 RDT 167:1-168:12 (Creditor).] [Same

response as No. 20 above.|

22. TrafficSchool.com's total referral revenue from third party
comprising less than one percent of TrafficSchool.com's gross revenue. [11/6 RDT

170:19-171:13 (Creditor); Trial Exhibits ("TEs") 26 (PL01685), 62, 63a; Designated
Creditor Depo., 322:22-25.] [Same response as No. 20 above. These numbers are
simply false; indeed, TE 1685 (PLO1685) shows the revenue generated from its

Florida and Texas referrals (both those apcounted for as “referral fees” paid for

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the provider and those in which TrafficSchool.com first collected payment and then
split with its referral provider) to amount to over $500,000. Note: TE 63(a) cited by
Defendants was objected to in the Post-Trial Final Exhibit Stipulation based on
lacking foundation as it is Defendants’ own summary and definition of “Referral
Income” and best evidence (FRE 1002) in that it purports to prove the contents of
Plaintiffs’ own financial documents and FRE 403 in that it is grossly misleading and
inaccurate to extent it implies that the income ‘ derived through Plaintiff's third
party referral relationships is less than 1% of gross income, which is not true. This
fact is also irrelevant because there is no concept of “di minimus” competition for

Standing purposes under the Lanham Act.]

23.  DriversEdDirect earned no referral revenue for the advertisement
andl Splitthe revenue with the drivers education providers) [11/6 RDT 169:7-170:17

(Creditor); TE 26.] [Again, this is misleading because outside of California, all of
DriverEdDirect’s revenues are based on sales of courses where DriversEdDirect
does not actually provide those services, but they are fulfilled by third party
providers, just like DMV.ORG (TE 26 (PLO1685) shows the amounts of revenues
generated based on sales for Texas and Florida drivers education; TD Eric Creditor
73; 11-13 (except to extent describing DMV.ORG operations per sustained
objections); Depo. Steve Moretti, pp. 75:15 to 76:14; 78:1-25; 79:13 to 80:24;
81:3-14; 95:18 to 97:8; 104:21 to 106:24 (admission by Online Guru that they are
in competition with Plaintiffs); 252:14-24 (TE 14 list of “different partners used and
in what state they are currently being advertised on the DMV.ORG website.” );
Depo. Steve Moretti, pp. 256:7 to 258:20; 260:1 to 263:25 (TE 15 agreements with

referral companies). |

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:(

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24. TrafficSchool.com has eamed less than $1,000 on average over

revenue. [11/6 RDT 173:5-24 (Creditor); Designated Creditor Depo., 81:1-82:12;
TE 27 (PLO1688).] [Not supported by evidence cited; also is irrelevant as the
amount earned being “di minimus” is not a valid argument against standing, as the
Court has already stated in its previous rulings (Order on Motion to Dismiss FAC

and Order on Summary Judgment Motions).]

25.  TrafficSchool.com does not earn any referral revenue for the sale

California) [11/6 RDT 173:25-174:18 (Creditor).] [Not supported by the evidence
cited, see TE 26 (PLO1685)—showing revenue from “DMV Records” from 2003 to

present; it is also irrelevant for the reason stated in No. 24 above.]

26. DriversEdDirect has earned no more than "a couple hundred

[Designated Creditor Depo., 108:21-109:12; 326:16-327:3.] [Not supported by
evidence cited and ignores actual revenue reported from AdSense Program as
reported in TE 386, is irrelevant as the amount earned being “di minimus” is not a
valid argument against standing, as the Court has already stated in its previous
rulings (Order on Motion to Dismiss FAC and Order on Summary Judgment

Motions). |

sense. [Not supported by any evidence cited and legally flawed conclusion the

amount earned being “di minimus” is not a valid argument against standing, as the

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Court has already stated in its previous rulings (Order on Motion to Dismiss FAC

and Order on Summary Judgment Motions).|

Use of the DMV.ORG Domain Is Not Literally False

28. Approximately 24 states use the term "DMV" in reference to
their state motor vehicle department. [Defendants' Request for Judicial Notice

("RJN"), Item 10.] [This statement is unclear. Is it intended to mean the DMV

moniker is used in the official title of the agency, the domain name, or in
advertising? There was no evidence submitted which established this statement. The
request for judicial notice, Item 10 (counsel prepared chart), was objected to by
Plaintiffs in a formal Objection as it lacks foundation and is incomplete, is disputed,
and is irrelevant for purposes of a determination of how consumers perceive DMV:
in fact, TE 400 shows a collection of consumer emails to the DMV.ORG website
from consumes living in “non-DMV” states (i.e., those states that do not necessarily
use DMV for their agency name) that still use the term DMV to refer to that state’s
agency, and TE 401 shows DMV.ORG’s ads that target consumers from non-DMV
States by using those state’s agency acronyms or similar indicia in the DMV.ORG

advertisement. |

29. The term "DMV" is generic, as demonstrated by the State of
(DEPARTMENT OF MOTORIVEMICUES! [Defendants' RIN, Items 8-9.] [The

statement that DMV is generic is false and demonstrates a misunderstanding of the
territorial rights doctrine of trademark law (i.e., trademark owners may have

concurrent rights with others in the exact same trademark based upon territorial

4833-3194-9570 1- 12
W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS’
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

COND nH BR WD NY

NY NY NY NY NH NH DY VY NO RR ee ee La
oN NON FSF HY YN KH CO COC HAT DR A BP WO PO KF OC

=—

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rights). It is well-settled that trademarks can have geographic boundaries ( J.

Thomas McCarthy, McCarthy on Trademarks and Unfair Competition , §26,

Volume 6 (4th Ed. 2007)(“McCarthy”). For example, the state of California has the

exclusive right to use the moniker “DMV” to the exclusion of all others in

California (its territory) and the fact that California had to disclaim “DMV” in a
federal trademark registration, which by definition has national reach, merely
signifies that the State cannot lay claim to exclusive rights nationally to the moniker
DMV. It does not mean that California (or other states) do not have trademark
rights for their respective territories or that the moniker is “generic”: “ Each user
of the contested mark may have its own exclusive area of trademark use.”
(McCarthy, §26:3). Moreover: (1) no evidence was submitted to establish that
consumers view “DMV” as generic (rather, evidence was submitted of just the
opposite, i.e., that consumers associate “DMV” with their one and only state
agency, TE 351, Tab “D”; TE 400, TE 334); (2) even if “DMV” were generic—
which it is not—would does not mean that the moniker cannot be used to deceive

(see, e.g., Pennsylvania State University v. University Orthopedics, Ltd., 706 A.2d

863, 868 (Pa.Super.1998)(University was not required to prove exclusive use of
term “university” to support its cause of action for unfair competition under the
Lanham Act where “consumer confusion or a likelihood of consumer confusion
arose from the failure of the defendant to adequately identify itself as the source of
the product.’’). |

30. The use of the .ORG top level domain by DMV.ORG is not

[Defendants' RJN, Item 4.] [Jt is true that .org can be used by anyone and is not

restricted, but there is no evidence (or law) that its use is proper if it causes

4833-3194-0570 I- 13
W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF| DEFENDANTS’
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

oO YD OH BP WO YP &

No NO NY NO NY NY WN NN YN Se Re ee ee ee he ue
CoN DN FF WN FHF COO OAH DA NH BR WH VB KH OC]

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deception. Moreover, the Exhibit in the RJN itself states that .ORG is “primarily is

used by noncommercial entities around the world” (Def. Req. Ex. 4, pg. 15).]

31. In contrast to the .ORG top level domain, GOV is restricted to
motor vehicle departments use the .gov or .us top level domain. [Defendants’ RIN.

Items 5, 10.] [No proper evidence was submitted to support this statement and

Plaintiffs objected to the RJN formally; moreover, whether the .GOV domain can
only be registered by government agencies does not prove that consumers know this,
or that consumers think that every state DMV website must be a.GOV domain, and
by its own statement, two states do not use a .gov or .us top level domain and there

is no requirement that they do so.]

32. DMV.ORG expressly disclaims any affiliation with any
such as DrivingLinks.com, eDMV.com, and DMVsolutions.org. [Raj Lahoti Trial

Decl., {ff 25-27, 29-34; TEs 623-625, 631; Designated Creditor Depo., 270:14-20,
272:16-20; TE 20 (DEF00990-00991); Defendants' RJN, Items 11-12.] [This is not
true regarding the site prior to the litigation; indeed, the only disclaimer was at the
bottom of the page, not visible to a user unless the user scrolled down three pages.
(TE 317). The alleged additional “disclaimers” employed after the litigation do not
serve to dispel confusion (Depo. Flack, pp. 61:9-63:11, TE 388; 395 (public emails
as late as August 2007 after changes were made to logo license plate, showing
confusion still exists; TE 410-411 articles as recent as Oct. 2007 showing confusion
exists; TT 11/6, pp. 53:14- 57:8; 88:22-89:6; p. 99:10; TT 11/7, pp. 162:6-163:8;
Depo. Flack., pp. 61:9 to 63:11; 54:9 to 58:2 (i.e., 57-58:1); Depo. Steve Moretti,
pp. 201:19 to 202:23.; Depo. Flack., pp. 54:9 to 58:2 (i.e., 57-58:1);61:9 to 63:11;
Depo. Steve Moretti, pp. 163:15 to 174:5 ( i é., 164:15 to 165:13); moreover, third

4833-3194-9570. 1-
W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS’
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

oo OH DN BP WO NY FR

NO NO NO NO NH NY YW NN NO HH kf FS ee SS He Re ee
Oo nN DW mH BP WO YO K CO OO WnA HDA MN BR WO PO &* OC]

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party sites such as eDMV.com and DMVsolutions.org are irrelevant and
DrivingLinks.com does not have a need to disclaim any affiliation as there is no

evidence that anyone would think DrivingLinks.com is an official DMV site. ]

33. Plaintiff's admit that DMV.ORG was "non-offensive” and not
actionable until al least October 2006) [Defendants RIN, Items 1-2.] [This is not

true, and Plaintiffs only stated that the site was indeed an “actionable one in late
2006" (and thus why Plaintiffs filed suit then). Plaintiffs only meant that from 2002
to before filing suit, the website progressed “from a simple and non-offensive
website” in 2002 to one alleged to be actionable when Plaintiffs filed suit in late
2006. Moreover, the DMV.ORG site was likely actionable prior to October 2006
based on the evidence uncovered by Plaintiffs for the first time during litigation and
presented for trial (TE 342-349 — third party complaints); 11/6 TT Raj Lahoti, pp.
53:14-15; 56:23-57-4.]

34. Nothing on the DMV.ORG website constitutes an express
iuisrepresentation Of fact, [Compare 11/6 RDT 151:20-152:24, 157:18-158:16

(Creditor); 11/7 RDT 63:11-16; 65:25-66:22, 68:3-6 (Kramer); TEs 611
(LowestPriceTrafficSchool), 89 (dmvapprovedtrafficschool.com).] [This is not true
if Defendants mean to suggest there was no literal falsity as a matter of law;
Defendants’ pay-per-click advertising identified the site as the “California DMV”

(TE 322) and then reinforced that deception by presenting consumers with overt

references to DMV which are literally false by necessary implication (TE 317, 318
“CALIFORNIA DMV” with state flag, TE 319, TE 320).]

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W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

Co ONT DH MH FP WO HNO eR

No NYO NY NYO NO NY WN NN NO HF FF = eR Re ee Re he
oN DN NM FP WO NY Ke CO OO HF IT DB ND BR WO VP + OO]

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DMV.ORG Is Not Likely To Mislead An Appreciable

Number Of Reasonably Prudent Consumers

35. Since at least September 24, 2002, DMV.ORG has disclaimed at
in text at least the same size as the other informational text on the site. [Raj Lahoti

Trial Decl., { 25; TEs 623-625, 631.] [This is misleading because prior to the

commencement of litigation in 2006, the only disclaimer was at the bottom of the
webpage and not visible to a user unless the user knew to, and then did, scroll down

three pages (TE 317).|

36. The bottom disclaimer on DMV.ORG has evolved over time

profit corporation) [Raj Lahoti Trial Decl., { 26; TEs 624-625, 631.] [Same

response as No. 35 above.]

37. Since at least March 17, 2004, the clarifying "weleome

Understand) [Raj Lahoti Trial Decl., { 27; TE 625.] [This is misleading because
prior to the commencement of litigation in 2006, that statement was overshadowed

by the bold text: No need to stand IN LINE. Your DMV Guide is now ONLINE! (TE

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-9 -
W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

oOo OND MH FP WO NHN

NY NYO NY WH WN WN HN YN KN Ree Re Re Re ee ie oe
Oo nyN NK ON FP HO NY KH COO Wn DA NH BP WNP KF OC

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from February 2006 tol October 2006) [11/6 RDT 189:18-190:16 (Creditor); Raj

Lahoti Trial Decl., { 35; TEs 627 and 628 (compare).] [This is false. Raj Lahoti
stated that the 2006 revision constituted a “brand-new Website” or “brand-new

almost Website” (11/6 TT Raj Lahoti, p. 76:4 -77-:24).]

631.] [This is partly false because a true disclaimer is a statement that disclaims

affiliation with another entity. Stating that something is “unofficial” does not

disclaim an affiliation. Moreover, there is no evidence that these additional
statements have lessened confusion and there is no explanation why more robust,
true disclaimers were not used (11/6 TT, pp. 88:15-90:13, 11/7 TT, pp. 162:10-
164:9; p. 165:2-6; pp. 164:13-166:7; pp. 155:2-158:25).]

40. In 2006 and through September 2007, there have been

[Moretti Trial Decl., | 4; TE 674.]

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W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:4

oO DH HN FP WO NY

NO NO NO NO NO NWN NY NO NO KF KF FP KF RP Se Fe S| S| oe
on KH NO BPW YY KF CO OO Bn DA WA BP WO PO KF OC

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41. DMV.ORG receives on average more than 1 million visits per
week, about 150,000-175,000 per day. [Moretti Trial Decl., { 4; TE 674. ]

42. In 2006 and through September 2007, over 50 percent of
DMV.ORG visitors entered the website through either the DMV.ORG main
homepage or one of the 51 state-dedicated sub homepages (including the District of

Columbia). [Moretti Trial Decl., { 5(b); TEs 7, 672.]

43. Approximately two-thirds of DMV.ORG's visitors view either
conspicuous "Unofficial Guide" title, while visiting DMV.ORG. [Moretti Trial

Decl., {{l 7-8; TE 675.] [The first part is not supported by the evidence and is
misleading because a substantial segment of those who visit the DMV.ORG Traffic
School and Driver Education sub pages do not see any such title because

Defendants did not add them on those pages and those are the pages that consumers

link directly to from the search engine advertisements for DMV.ORG (11/7 TT, pp.
175;12-18, TE 332—showing addition of “Unofficial Online Guide” text but not on
the California Driver Education or Traffic Schools pages (i.e., 00171 and 000174),
TT 11/7, pp. 159:23-160:24; 172:22-174:4, 173:25-174:4); moreover, plaintiffs
dispute that “unofficial” is conspicuous (especially as it relates to the sub-
homepages, see e.g., 332 (000168)) and also contend that the statement is irrelevant
as there is no evidence to suggest that “unofficial” educates consumers that
DMV.ORG is not affiliated with the state DMV’s agencies or that it limits confusion
(11/7 TT, pp. 174:21-175:25).]

44. The average visitor to DMV.ORG views more than 5 pages per
visit. [Moretti Trial Decl., [§[ 9-10; TEs 676-677. ]

4833-3194-9570 1- 18
W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

CoC OY DH MH BP WO HNO

NY NY NY NY NY NY WN NY NO Re See ee ee me UL
Con HD OO FF HD NY KF COC CO AnH DH NW BR W YH KF OC]

~~

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45. In both 2006 and 2007 (through September), the DMV.ORG
California traffic school webpage did not rank among the top fifty entry webpages
for the site; and only one-third of one percent of DMV.ORG's visitors entered the
fiftieth ranked entry webpage. [Moretti Trial Decl., [J 13-14; TEs 7, 672.]

46. In May 2007, 0.13 percent (about 4,000) of DMV.ORG's visitors
entered the website through the California traffic school webpage and Only 25

page! [11/7 RDT 178:23-179:10 (Moretti); TEs 109. 641-642. ]

Webpage. [11/7 RDT 217:24-218:21 (Moretti).]

48. Of the visitors entering DMV.ORG directly to the California

[Moretti Trial Decl., {| 15-17; TEs 109, 642.] [This is false and not supported by the

exhibits cited. |

49. In May 2007, there were approximately 18,000 visits to the
DMV!ORG ‘Califomia ifafiie School webpage and) 33,000 page views of that same

page. [Moretti Trial Decl., 15-16, 18; TEs 109 (p.1), 645 (p.2).]

50. A consumer searching for online traffic school services will
4$33-3194-9570.1- : A

W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF| DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:{

oOo OND NH BP WY HO

DO NY NH NO NY NO YN NN NO H&B Fe HB SF BS eS le ee
Oo nN DNDN Wn FP WH YH K& CO OO DWBA A WN BR WO VP KF OC]

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[Designated Maronick Depo., 217:13-17.] [This is not supported by any admissible
evidence. Plaintiffs’ objected to this evidence because Dr. Maronick specifically

said that he was speculating. Maronick Depo. p. 217:21-218:9.|

51. Traffic school consumers take extra precaution at the time that
they are making a purchasing decision. [Designated Maronick Depo., 217:18-

218:14.] [This is not supported by any admissible evidence. Dr. Maronick’s has no
foundation to know whether or not “consumers take extra precaution at the time
that they are making a purchasing decision” and specifically stated “I’m
speculating” (217:21-23) that if they reviewed other sites, at the time of the

decision, they would be more “careful.” |

52. A visitor to TrafficSchool.com would have to view
approximately 9 distinct webpages to complete a purchase of a traffic school course,
and would spend at least three minutes navigating through TrafficSchool.com

webpages to make a purchase. [11/7 RDT 49:12-51:15 (Kramer). ]

53. A visitor to DriversEdDirect.com would have to view
approximately 7 distinct webpages to complete a purchase of a drivers education
course and would likely spend more than three minutes to navigate through the
DriversEdDirect.com webpages to make a purchase. [11/7 RDT 51:16-52:6
(Kramer). |

54. Plaintiffs sent letters to various states about DMV.ORG but no
state has joined this suit. [11/7 RDT 88:25-89:6 (Kramer). ]

55. In response to a letter from Plaintiffs, the State of Georgia wrote
4833-3194-9570. 1- F

W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:4

Co mH HN Dn FF WW VB

YN NY NY NY NY NY NY WN NO KR Re BHR ee ee ee
Sot N mH FF HY NY KF CO OO WA DA WwW BR WYP KF OC

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misleading information.” [Designated Creditor Depo., 287:3-288:6; TE 58.]
[Disputed as the context of the letter was actually the State advising that they did
not have authority to take action because Defendants were an unlicenced school.

The letter was in no fashion an endorsement of Defendants’ business practices. ]

56. The state of Pennsylvania has entered into a linking agreement
with Online Guru, an agreement by which Pennsylvania Gonfirmed DMV.ORG's
express right to link to the Pennsylvania motor vehicle website from DMV.ORG.
[Moretti Trial Decl., { 27; TE 659.] [Disputed as to “confirmed” because it was the
State that initiated a complaint to DMV.ORG due to the State’s concerns about
confusion due to impermissible linking and forced DMV.ORG to enter into an

agreement by which the State would not object (TE 138).]

57. In October 2006, Online Guru added state flags for each state on
the state-dedicated sub homepages. Online Guru received ao complaints regarding
the use of these state flags until March 2007, when the state of New York contacted
Online Guru and requested removal of the state flag. Online Guru promptly agreed
to remove and did remove the New York flag and so advised the state of New York.
The state of New York then replied that it regarded the matter as "closed." (Raj
Lahoti Trial Decl., {{] 36-37; TE 139.] [Plaintiffs set forth a complaint on this very

issue in November, 2006, when they filed this lawsuit. ]

58. Online Guru has received fo other complaints regarding the use
of state flags on the website, but decided at the time that it took down the New York
state flag to take down all other state flags as well. The state flags were therefore
only on the website from October 2006 through March 2007. [Raj Lahoti Trial
Decl., J 39.] [Same response as to No. 57.]

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W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS’
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:{

Oo OND Nn FP WO YO

NO NY NYO WN NY WNW KN NNO CO = RR Re ee ee huhu
OOo NO FP WO YO KH CO OO DWH DA NH BP WO VY KF OC]

|

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59. In spite of Plaintiffs’ agitation, no state has joined their effort and
many states voluntarily provide DMV.ORG with updated information. 11/7 RDT

88:25-89:6 (Kramer); Moretti Trial Decl., { 25; TE 635.] [California filed an
Opposition to Defendants’ trademark application for DMV.ORG complaining about
confusion (TE 362, O00519-520), hence the State of California has certainly
expressed the same concerns, and the States of Connecticut and South Carolina
filed requests for extensions of time to oppose (TE 390); moreover, other states do
not merely provide “updated” information, rather, they correct incorrect

information (e.g., TE 4 emails from state employees, often correcting information).

60. Online Guru's sponsored advertising listings in Yahoo! and
Google are subject to Yahoo!'s and Google's approval and their extensive rules
regarding the content of sponsored advertisement listings. [Raj Lahoti Trial Decl.,

18; 11/7 RDT 49:5-11 (Kramer). ]

61. Online Guru has changed the sponsored listings for DMV.ORG
"California DMV Info," and "The unofficial guide to the CA DMV." [11/6 RDT

99:6-18, 102:10-103:14 (Raj).] [There is no evidence that these changes were
applied to all sponsored listings (11/6 TT, p. 126:8-127:11); and the evidence has

shown that any changes made do not alter the perception of consumers who are still

confused daily (11/6 TT, pp. 88:15-90:13).]

62.

[11/6 RDT 97:23-

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

Co ON DW FF WH VP &

NY NO NO NH NY WN NO WN NO =| wR eR em Re ee Le
On NH ON FP WO NY K& CO OO Wn KH HW BP W PN FR OC

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99:2, 99:19-100:19, 102:10-103:14, 103:15-104:17; TEs 323, 324 (p.2), 670, 671.]
[There is no evidence that search engines have given any thought or consideration
to Defendants’ advertising practices, and the opposite evidence exists (Depo. Steve
Moretti, pp. 146:18 to 147:4; TE 97, TT 11/6 pp. 54:20-25; 58:1-25; 60:22-25).
Also, upon cross-examination, Mr. Lahoti admitted that it was his opinion that the
organic listing provided more explicit disclosures of the unofficial nature of the

DMV.ORG site than did sponsored listing (11/7 TT, pp. 148:11-150:7).]

63. A reasonably prudent consumer moving from search engine
domain, the multiple disclaimers on the site and other clarifying language. [The

standard is not a “reasonably prudent consumer”, but rather the intended audience.

(Southland Sod Farms). A substantial segment of Defendants’ audience are

teenagers looking for drivers education (e.g., Shannon Robertson Decl.) and these
consumers need to be protected as well. Also, the evidence illustrates that confusion
has and continues to be rampant (TE 388, 395, 410, 411, 11/6 TT, pp. 88:15-
90:13).]

No Evidence Of Intent To Deceive

64. DMV.ORG has always utilized disclaimers and clarifying
[anguage On WS Site) [Raj Lahoti Decl. {{[ 25-27; TEs 623-625.] [Until this lawsuit

was filed, Defendants employed one insufficient disclaimer hidden at the bottom of

the web page (TE 317).]

65. DMV.ORG's use of disclaimers and clarifying language
4833-3194-9570.1~ ; |

W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF| DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

CoC ON DN MN FP WOW PO

No NY NY NHN WN WH NN HN NO eo He = Be Se ee eRe ee
Soa THM BP WHO NY KH CO OO Dn DBD nN BP WO PW KF OC

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[Defendants' RJN, Items 11-13 (other similar type sites, no disclaimers); 11/6 RDT
205:25-206:25 (no disclaimer on DrivingLinks.com); TE 20 (DrivingLinks.com);
11/7 RDT 20:4-8 (no disclaimers on FloridaTrafficSchool.com).] [This is untrue
(see 64 above); and there is no evidence that Plaintiffs have created any confusion

by their practices and so comparisons to Plaintiffs’ sites are of no assistance. |

66. Online Guru, under the direction of Raj Lahoti, has made

With the goverment [Raj Lahoti Decl. {J 29-34; TE 631.] [The changes made

have not been voluntary. Changes only came after litigation (TE 332). |

No Appreciable Evidence Of Confusion On DMV.ORG

67. DMV.ORG has approximately 175,000 visitors per day but
receives only a couple hundred emails per day from visitors to the website. [11/6

RDT 113:14-114:2 (Raj).]

68. Ona weekly basis, DMV.ORG receives approximately 20 emails
provided on the DMV.ORG website. [Moretti Trial Decl., { 25; TE 635.] [This

statement lacks credibility as Defendants failed to produce all such e-mails or

introduce them at trial (three laudatory emails in TE 635 are hardly evidence of
“approximately 20 emails from visitors” on a weekly basis). This information was
within their power to produce; moreover, the truth or falsity of this statement is not

helpful to the issue of confusion or any other issue in the case. |

69. Although a few of the couple hundred emails that DMV.ORG
4833-3194-9570 1- ie

W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

oH SN DH NM BW YH

NO wo NO HPO HN HN WH HN N FF HF KF Fe Fe OR OS
ony NHN mr FP WO NY KH CO HO HI DB mA BP WO NY KF CO

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iincomparison tolthe tralfic lon thelWebSitel [This is false. Defendants offered no

evidence that only a “few” of the “couple hundred” visitors who email daily are
confused; moreover, Defendants did not produce any consumer e-mails other than
what they were ordered to produce and completely failed to produce e-mails which
would have illustrated any decrease in confusion after the changes were made;
further still, Defendants offered no evidence to suggest that the consumer confusion

level of visitors to the site who did not send an e-mail was any less than those

consumers that did e-mail the site. |

70. Although a few websites appear to misdirect Internet users to
70,000 websites or internet articles that link to DMV.ORG. [11/6 RDT 114:3-12.]

[The misdirection is significant in terms of both numbers and nature. Much of the

confusion is by journalists and state employees who are more sophisticated than

consumers (TE 4, TE 404-407; 410-411).]

DMV.ORG. [Moretti Trial Decl., { 26; TE 640.] [Defendants offered no tangible
evidence to substantiate this statement (although it was within their power to do so);
however, even if Mr. Moretti is to be believed, the statement establishes that
DMV.ORG is a regular purveyor of inaccurate information, which poses a public

safety issue. |

4833-3104-9570 1- 25
W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF| DEFENDANTS'
POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

oH HNN OH HR WO NO

NO WO NYO NO YN NY WYN NN HN KE KH KF FE RR = ee
oOo sat NWN ON BP WO NY KH CO OO Dna DB nA Bh WW VY KF OC

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72. While it is the practice of Plaintiffs’ driving instructors to speak

confusion as to driver's education advertisements on DMV.ORG. [Designated

Creditor Depo., 395:11-396:6, 396:20-397:15.] [This is not true. All Mr. Creditor
testified to was that driving instructors talk to their students about drivers’
education; no evidence was elicited that instructors are quizzing students about the
source of their drivers education; moreover, this is true only as of the time of Mr.
Creditor’s deposition and Defendants made no effort to elicit Mr. Creditor’s

knowledge of this issue at the time of trial.]

73. Plaintiffs’ third party witness, Lisa Warren, President of The
approximately a minute and could not recall the page she viewed. [11/7 RDT

133:25-134:3, 134:23-135:11, 135:22-136:15 (Warren).] [Disputed as to

“allegedly” because she testified she was confused. |

74, Warten went on the DMV.ORG website in search of official

findlany) [11/7 RDT 135:12-21 (Warren).]

75. Warren agreed that the amended DMV.ORG license plate logo,

[11/7 RDT 136:24-137:20 (Warren); TE 631.] [Mrs. Warren agreed to no such
thing: (1) all she was shown when asked this question was the logo and not how it
appeared on the DMV.ORG site—as such, it was a meaningless question which

revealed nothing of value and certainly did not negate the impact of Mrs. Warren’s

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

Oo Oo a DW WA BB WO PO eH

NO NN NH NY WN NY NN NO FH kB FF SF Be eS ee me oe
oN DN OH BR WOW NY KF CO OO Wn HD wm BR WHO PO KF OC

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confusion; (2) Mrs. Warren, after having been deposed and after having testified in
Court and after being advised about the details of the case and the claim, simply
stated she personally, at the time of trial was no longer confused by the logo alone

(how could she be, after her participation in the case and after being educated ?)]

Survey Evidence Shows No Confusion

DMyV/stale/government) [Hollander Trial Decl., { 25(b)-(c); TE 193.] [This

conclusion based on Mr. Hollander’s survey is disputed as the design of the survey
was inherently flawed and its execution and data collection likewise flawed as
detailed in Plaintiffs’ Motion in Limine to Exclude Hollander and Plaintiffs’

submitted Cross-Examination by Deposition Testimony. |

[Hollander Trial Decl., { 25(b)-(c); TE 193.] [Same response as to No. 76.]

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

S20 OH SN DB nH BP WO YN

NO wo NY WHO NV NY NV NV NO FS KH HF | He Re Re OR SS
oo yt HN vA FP WD NY K& CO KO DW ANT DB NH BP WO NH KY CO

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iiiributed tothe User heIDMVIORG Gomaininame) [Hollander Trial Decl.,

q 25(c).|LSame response as to No. 76.]

79, None of the respondents to the Hollander test survey
DMV.ORG of CAR.ORG, respectively, and the government, [Hollander Trial

Decl., { 25(d).] [Same response as to No. 76.]

80. Plaintiffs’ expert, Maronick, surveyed respondents only in
moniker, and gave no opinion whatsoever as to driver's education. [Designated

Maronick Depo., 83:24-84:1; 96:18-19.]

81. Maronick surveys 2 and 3 do not provide meaningful results as

(a) the failure to mimic a visitor's actual experience through the
use of improper stimuli and dissection of DMV.ORG into component parts — search
results, the domain and the top two-thirds of a single webpage (a page through
which less than 1/3 of one percent of DMV.ORG visitors enter the site) [TE 142

(Simonson Decl., {{ 42, 49-51); Designated Maronick Depo., 13:4-14:4; Moretti
Trial Decl., [| 13-14; TEs 7, 672];

(b) FREMSSSMCAGINEIGUESTONS [TE 142 (Simonson Decl., I 37-

39, 41-48); Designated Maronick Depo., 54:7-10];

(c) the combination of key questions on the same page creating a
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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

coco HH YT DB NH FP WD NO

oOo NYO NY NY WN NY WN WN NH FF FF Fe Ree Re ee oe oe ee
Sen ND ON FP HOD YN KH COO Dn HD NH BP WO PO KF OC

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7)) [TE 144 (Surveys 2-3, questions 6-7 and 8-9); Designated Maronick Depo.,
39:5-11; 40:5-23; 44:2-18; 96:20-97:12; 97:17-21; 100:2-7; Simonson Decl., [J 23,
45-48];

143; (Simonson Decl., ff] 53-55); Designated Maronick Depo., 34:5-35:5; 72:15-
73:13]; and

(e) the failure to instruct survey respondents not to guess.

[TE 142 (Simonson Decl. {J 44, 57); Designated Maronick Depo., 45:17-46:22;
95:25-96:1; 172:4-173:11].

[These findings are disputed for the detailed reasons and law set forth in Plaintiffs’
Opposition to Defendants’ Motion in Limine to Exclude Dr. Maronick, which is

supported by TE 389 (Dr. Maronick’s Rebuttal of Research Related Issues). |

Materiality: No Evidence That The Alleged

Misleading Advertising Affects the Purchasing Decision

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

oo ON DH HN BP WO NP &

NO NO NO NY WN WN NO NO NO KF FR Fe FH = eS eR he
on KN NM BR WO NY KF OO WOH DB mH BR WH NO + OC

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acceptable traffic school. [Consumers of traffic school and drivers education

courses know that both are highly regulated by the government (TD Eric Creditor,
14, 6, 9, TE 316, TD Shannon Robertson, ¢ 8). As such, that a recommendation
from the government is valuable is both self evident and was expressly established

by the Maronick survey results (TE 350, Study 4, Tab G).]

84. In fact, Plaintiffs expert, Maronick, understood the phrase
"recommended by the DMV,” which he devised for survey 4, to mean that a traffic
school course would serve to discharge a traffic ticket. [Designated Maronick Depo.,

139:21-140:15.]

85. There is no evidence that the traffic school and drivers education

courses advertised on DMV.ORG are not in fact approved by the government.

86. College students are generally interested in completing traffic
Schoolasiquicklyand|cheaplylas\possiblel [Designated Maronick Depo., 137:23-

138:19.] [Mr. Maronick specifically stated that he was only speculating (138:22-
23).]

87. A California resident with a traffic ticket would first and

fecord, [11/6 RDT 160:19-161:18 (Creditor).]

88. Convenience is also an important factor for consumers in

choosing a traffic school course. [11/6 RDT 161:19-23 (Creditor).]

89. Other traffic schools’ search engine listings prominently

including price (e.g., Go to Traffic School - Starting at $14.50; Traffic School -

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